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Attorneys for Plaintiff Fort Harrison Veterans Residences, LP

               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MONTANA
                          HELENA DIVISION
FORT HARRISON VETERANS
RESIDENCES, LP,                               CV 24-37-H-BMM

            Plaintiff,                       PLAINTIFF’S PRELIMINARY
                                             PRETRIAL STATEMENT
v.

MONTANA DEPARTMENT OF
COMMERCE, in its official capacity and
as a federally designated public housing
agency,

            Defendant.




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      Pursuant to the Court’s Order dated March 20, 2025 (Doc. 27), Federal Rule

of Civil Procedure 16(c)(2), and Local Rule 16.2(b)(1), Plaintiff Fort Harrison

Veterans Residences, LP (FHVR) files its statement as set forth below.

A.    BRIEF FACTUAL OUTLINE OF THE CASE.
      FHVR has alleged two claims against Defendant Montana Department of

Commerce (MDOC), in its official capacity as a federally designated public

housing agency. First, FHVR alleges that MDOC breached a contract between the

parties by failing and refusing to pay FHVR required payments under the contract

since April 2023. Second, FHVR seeks declaratory judgment that MDOC applied

incorrect HUD regulations related to Housing Quality Standards and Lead-Based

Paint Housing Rules when determining that the housing units operated by FHVR

did not comply with such standards and rules.

      FHVR leased property owned by the Department of Veterans Affairs (VA)

at the Fort Harrison, MT VA Medical Center. Under this agreement, FHVR

developed or rehabilitated 42 units in 120-year old buildings on the property to rent

to veterans as part of the Department of Housing and Urban Development’s (HUD)

Veterans Affairs Supporting Housing (VASH) program. The VASH program

provides medical services, including counseling, to veterans coupled with rental

assistance that is provided as long as the veterans participate in counseling.

MDOC, as the public housing agency, administers payment of the rental assistance



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while the VA provides the services to veterans. The rental assistance program

administered by MDOC for FHVR is a Project Based Voucher (PBV) program as

opposed to a Housing Choice Voucher (HCV) program.

      As part of the rental assistance program, FHVR and MDOC, in its role as a

public housing agency, entered a housing assistance payment (HAP) contract. The

HAP contract requires MDOC to pay FHVR the federal funds in MDOC’s

possession, which are designated for the PBV program, to cover MDOC’s portion

of the tenant’s rent.

      Prior to the veterans moving into to FHVR’s rehabilitated units, FHVR

obtained various lead-based paint clearances. Additionally, MDOC inspected all of

the units, before and after entry of the HAP contract, to confirm that they passed

federal Housing Quality Standards (HQS), including compliance with the lead-

based paint clearances. Veterans began moving into the units in 2019, and MDOC

initially paid the MDOC portions of those tenants’ rent.

      In September 2021, a tenant in one unit verbally informed FHVR’s property

manager that one of his children had elevated blood lead levels. Upon inspection of

the unit, it was discovered that someone had pulled a cord from a wall that exposed

underlying paint. FHVR undertook significant efforts to assess and mitigate the

issue, including paying the expenses for that tenant’s family to move to a hotel

while the unit was remediated.



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      Months later, MDOC, in violation of federal regulations, conducted various

inspections of the entire property. In February and April 2023, MDOC notified

FHVR that MDOC had found that 100% of the units on the property failed on HQS

grounds—despite the point that each of the units previously passed HQS. MDOC,

however, applied federal HQS regulations related to HCV, not PBV, and ignored

other federal regulations that excluded MDOC from the remediation process.

Moreover, because the VA owns various dilapidated garages that abut some of the

FHVR units along with a rubble pile composed of construction debris that is

adjacent to the FHVR property, it is possible that some of the lead-based paint

issues found on the FHVR property are because of the VA’s failure to maintain the

garages.

      In April 2023, MDOC ceased making required payments under its PBV

HAP contract with FHVR. MDOC claims that its refusal to honor the terms of the

contract were undertaken at HUD’s express direction. However, FHVR believes

that is incorrect and that HUD never directed MDOC to cease honoring the terms

of the HAP contract. To this day, MDOC has failed (and refuses) to pay pursuant

to its obligations under the terms of the HAP contract or to provide evidence of

HUD’s express direction not to pay under the FHVR PBV HAP contract.

Additionally, MDOC refuses to process applications for new tenants to move into




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the units on the property. As a result of MDOC’s failure to pay, it has breached the

HAP contract.

      Second, as noted above, MDOC applied lead-based paint regulations

applicable to HCV programs and not PBV programs, even though the HAP

contract between the parties is based on a PBV program. MDOC ignored the

regulations that impose the duty to inspect, remediate and otherwise act upon

FHVR. Nonetheless, FHVR started its remediation efforts immediately even

though MDOC never provided evidence of elevated blood lead levels that is

compliant with any applicable federal standard.

B.    BASIS FOR FEDERAL JURISDICTION AND VENUE.
      There do not appear to be any issues concerning jurisdiction and venue.

Federal diversity jurisdiction exists pursuant to 28 U.S.C. § 1332. FHVR seeks in

excess of $75,000.00 in damages, exclusive of interest and costs.

      Venue is proper in the District of Montana, Helena Division, because

Plaintiff resides in Lewis and Clark County, Montana and a substantial portion of

the events giving rise to this lawsuit occurred in Lewis and Clark County,

Montana. Lewis and Clark County is part of the Helena Division of the United

States District Court for the District of Montana in accordance with Local Rule

1.2(B)(4).




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C.    FACTUAL BASIS FOR FHVR’S CLAIMS.

      1.     MDOC Failed to Comply with the Terms of Its Contract With
             FHVR.

      HUD enters annual contribution contracts with public housing agencies, like

MDOC, that in turn enter HAP contracts under two principal and different

programs, HCV and PBV, with project owners like FHVR. FHVR and MDOC’s

HAP Contract for PBV is such a contract. Under the terms of the PBV HAP

contract, MDOC is required to make housing assistance payments to the owner of

the multi-unit building(s) for units set aside for families eligible for federally

assisted housing. Tenants pay a portion of the rent while MDOC pays the

remainder to FHVR. Prior to tenants moving into the units, MDOC certified that

the units met federal Housing Quality Standards. FHVR complied with the terms

of the HAP contract. MDOC did not and continues to breach the contract by not

paying HAP and not processing new tenant applications to lease available units.

      2.     MDOC Applied Incorrect Housing Quality Standards When
             Inspecting FHVR Buildings and Apartment Units.

      Because FHVR is part of a Project Based Voucher program, as opposed to a

Housing Choice Voucher program, MDOC must utilize federal regulations related

to potential lead hazards that are applicable to PBV programs. However, in

conducting its inspections, and claiming that all of the units at FHVR failed those

inspections, MDOC applied the incorrect standards.



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D.    LEGAL SUPPORT FOR FHVR’S CLAIMS.

      1.     Breach of Contract.
      FHVR brings a breach of contract claim against MDOC. Under Montana

law, the elements of a breach of contract claim are: (1) a valid and enforceable

contract; (2) breach of an express or implied contract duty or obligation; and (3)

resulting contract damages. Kostelecky v. Peas in a Pod LLC, 410 Mont. 239, ¶ 41,

518 P.3d 840, 2022 MT 195.

      Additionally, the VASH program and HAP contract are governed by section

1437 of the Housing Act of 1937 and 24 C.F.R. Parts 5, 35 and 983.

      2.     Declaratory Judgment.

      28 U.S.C. § 2201 provides that, in a case of actual controversy, a court may

declare the rights and other legal relations of any interested party seeking such

declaration. 24 C.F.R. Part 983 contains HQS applicable to PBV programs. 24

C.F.R. Part 982 contains HQS applicable to HCV programs. While some parts of

Part 982 are explicitly applicable to PBV programs as well, regulations related to

lead-based paint are not.

E.    COMPUTATION OF DAMAGES.
      1.     Breach of Contract.

      FHVR is entitled to the damages associated with MDOC’s breach of the

HAP contract. As of the filing of the complaint in June 2024, MDOC breached the

HAP contract by failing and refusing to pay $107,185.46 in required payments.


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That amount has increased substantially since the initial filing of the complaint in

an amount to be determined because of MDOC’s ongoing breach of the HAP

contract.

       2.     Declaratory Judgment.
       FHVR is not seeking monetary damages under Count Two of the complaint.

It is seeking a declaratory judgment as to the applicable standards regarding lead-

based paint issues in PBV projects.

F.     RELATED STATE OR FEDERAL LITIGATION.
       FHVR is aware of other related litigation before this Court, but the issues

before the Court in this matter are narrow enough such that they should not impact

the other litigation.

G.     PROPOSED STIPULATIONS OF FACT AND LAW.
       FHVR declines to offer any additional proposed stipulations at this time.

H.     PROPOSED DEADLINES FOR JOINDER OF PARTIES OR
       AMENDMENT OF PLEADINGS.

       June 20, 2025, as set forth in the Joint Discovery Plan.

I.     CONTROLLING ISSUES OF LAW SUITABLE FOR PRETRIAL.
       DISPOSITION.

       FHVR believes certain legal issues such as the question of the applicable

regulations and whether MDOC breached the HAP contract may be suitable for

pretrial disposition.




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J.    INDIVIDUALS KNOWN OR BELIEVED TO HAVE RELEVANT
      INFORMATION.

      FHVR identifies the following individuals as people known or believed to

have information that may be relevant to the claims and defenses at issue in this

case. The contact information for the following individuals should be known to

both parties but it can be provided upon request as necessary.

Montana Department of Commerce

       Cheryl Cohen – housing division administrator
       Kelly Shields – rental assistance programs manager
       Joy Langstaff – project-based Section 8 supervisor
       Rob Smith – HQS inspector
       Amber Fields – HQS inspector
       Connie Mullikin – former contract manager
       Bruce Brensdahl – former housing administrator
       Leslie Torgerson – former Section 8 contract manager
       Jason Krebs – former contract manager
       Diana Collver-Vanek – former programs manager
       Logan Smith – former program supervisor
       Stephanie Crider – former HCV supervisor

      These individuals may have knowledge or information concerning the

contracts at issue, related communications, related inspections, and MDOC’s

decisions and conduct that give rise to the claims at issue.



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Fort Harrison Veterans Residences, LP
    Don Paxton – partner
    Karen Weeks – manager
    Scott Deaton – manager
   These individuals have knowledge and information concerning FHVR’s efforts

to comply with the pertinent contracts and regulations as well as the damages that

FHVR has incurred as a result of MDOC’s breach of contract.

Other Witnesses

      Mark Greytak – Helena Housing Authority
      Scott Rogers – Environmental Solutions
      Chris Rinhart – Abatement Contractors of Montana, LLC
      Misty Fish – Freedom’s Path, property manager
      Kenneth Garrett – B&F Construction Code Services, Inc.
      Clyde A. Ward – U.S. Department of Veterans Affairs, realty specialist
      Teresa Bell – U.S. Department of Veterans Affairs, program manager
      Dustin Koonce –VA
      Mackenzie Roberts – Freedom’s Path, property manager
      Jessica Allewalt – WESTECH Environmental Services, Inc.
      Kathy Berger – director, Montana VA Health Care System
      Robert Brownell – environmental scientist, Northern Industrial Hygiene
   These individuals have knowledge of the condition of the property at issue, the

inspections, and/or related issues concerning the contracts and programs involved

in this matter.

   FHVR will identify additional individuals with knowledge in the course of

discovery.




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K.    SUBSTANCE OF ANY INSURANCE AGREEMENT THAT MAY
      COVER ANY RESULTING JUDGMENT.

      MDOC may have an insurance policy that provides coverage for FHVR’s

claims.

L.    STATUS OF SETTLEMENT DISCUSSIONS.

      The parties have engaged in informal settlement discussions and are

considering further negotiations.

M.    SUITABILITY OF SPECIAL PROCEDURES.
      FHVR does not believe that this case warrants the use of any special

procedures.

      DATED this 28th day of March, 2025.

                                     CROWLEY FLECK PLLP

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                                         Jeffrey M. Roth

                                     ARNALL GOLDEN GREGORY LLP

                                     By: /s/ Aaron M. Danzig
                                         Aaron M. Danzig

                                     Attorneys for Plaintiff Fort Harrison
                                     Veterans Residences, LP




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                        CERTIFICATE OF SERVICE

      I hereby certify that on this 28th day of March, 2025, the foregoing

document was served on all counsel of record via the Court’s CM/ECF system.


                                                /s/ Jeffrey M. Roth




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